Case 1:20-cv-00539-DCN Document 3 Filed 11/24/20 Page 1 of 3

Case No:

¢ > Inmate Name: eur Alien
» WAZ aw 4 "e
Date: ixZ4—- 90 Inmate IDOC#..122219

inocitocl WLR CEii pips DocumentTitle: _Clvlin Richts Co sale’ ke

po. 80K Total P 3

G0 WE yi 237101 -DWO ages: Inm

Complete Mailing Address at Initials Verifying Page Count: 2Ag
“PRodocuments)_1 of_2

Claintif/Defendant

(circle one)

 
 
   

Full Name/Prisoner Name

 

THE UNITED STATES DISTEACT COURT
FoR THE bDistricy OF HAVO

Locher Tr Ailen
Plaintiff/Petitioner,
Full name(s)

CASE NO.

VS.

 

 

 

Corey Seoly mes R UtisoMac Aiello: Joshua E: Overs act
Defendant Respondent(s,
Full name(s). Do not use et. al.

Kring Shewac tae | spabatnsti, £0 Wy. DOK. EeacPle\e Dale
Ki Landry. wr\.2 I \sonnGad 2 Weta n Pak = eno ReretiOn es

whe LESS, 5 ANAL Ea\S Gs

)
)
)
)
)
)
Dep Worderpacdalt L.Ve ley Capt, Russel lt ss. Ub NhrronGuikauw )
)
)
)
)
)
De

ri Roe,
Dad. akey)

     
 

COMES NOW. (, Zachary Alien , Plaintiff/Defendant (circle one) in the above
entitled

On 612512020 Iwas repeated ly hatrassed cind intimidated by StafPat tho, \daha Shrts Correctonal nebtubion «4

ASSOC ID ac 10%

L..9R1763 and $¥G-7902. OF Stat te lai (Quoting It rMeront Govertor ‘You | perth Nab cause WS arwmocetroublle Me. A Alley

 

 

'
Log palo’ - : An pol ~ © be dined }
Stee bulisnthinal swear \will-Pind ever feasonNes Cesar) to Gend voutmI MST vouwontlike, mercdavou understi nd because
7 > i ; - - -
Vv
i , » (SE (M°< x + oO WA : i / ;
HW not Veubetter width Vlour Steovtenednd obbytudey around! UP sol lute NI Geel J) Fre waste Ly rs PeMing
Li ‘ re Tey OF :
, . { | i L - " ' ! ; . | j f Li ; a) 4 Zi . t - - . .
rover tu au yhanioulerVion aac bétause wou Go on Suicide, WaTUN daa.) OF Cause yne One Mmiaerl
' | : oe J 7 J J

 

yecu ot i e,\ fs Al Send SOLA to (Ms| and PY OA DR > l

COMPLAINT -pg.OA

Revised 3/24/16
Case 1:20-cv-00539-DCN Document 3 Filed 11/24/20 Page 2 of 3

. . > el Ped PD 4 if
stan Hy, nvjbur head Udi nek Quoting Capt r, Russel (on) Fersonally) ty

n
Os Mets

| ' r P|
| rd
theharlest Gant ot Vouc | ifetist
J J i

: > ! i : > yy fy MSY ' t <\
A jr. puis + ley W coniacted Colored ele, OF Shyt. (Gusting Sect Randl Bloncha MASSoCIOR Bon
7 ¥ UU SS * ¥

i Pet |

ore

~ . _ . _i' , Ary a y} } , hi ’
La: ised Unescded unrest in pay Yart 1 Aliens twill ANersonallu Spray Vol wath ec aod Ava uo. : t O Sear pag on
. . vy * ra wi SS

in “ ' okt ud AA
MC bee CQuct re LT. James &Ul4is Adon) pacer M\¢

Ait \ \ a!
fF if, Bilen M os have fe pe sorvedk\s s cuuse he\\ Wile Valve

4! . \ }
moe Vata he, Ver at mor ukere vical \Weegon@ Usa
t : t = Y 3

 

 

Bill Wilson Associ en7 Allon pov thet Vise af Weteh {bye

 

| , 7 Bo poke .. 2 C oN = 4 '
heen orderad te escort You +0 VB ax, Seon as OBvec Mine pa Jeo bt. Col, Homenar andl, Aiedlg show

leu Cc - } LA
UD Vou dansernut trix £2 SENIONGA \uSe
— — . -

\hvoursebl, "(auc chop Lk MerGh'e! 0 AKU 7Rs4) * ‘Were,

' i
ai | Loyd Vian dt \ ‘ef uy
Gs ine to do a much nesdad excwack won to tecnico a} lesson t+ ect anu +

me, Vou Dull auat OF Loolt
¥ a Fy =
v

f ret ‘ jy! ye 1
11% twee atl beiised cus Lot ELATANS 16 @ direck order,’ i Sat id ‘Why don hase,

 

Te extract me LL aidn edo curly cg ‘ (dustin Sark EncRler As 6s06 1B WS a\’ Shut +he > tutte

ify

Era ape, ceckinw (Quokina ¢ > LL —~™)

ELTAaCTA OFA, CSeCTOnWwnd. WAIT VAG © P| i Carle tHomrass ) 2USt Coveenkea ered
SN WY —

(55

bajo ty tec Uy Alluidstions nel clove Bera rin

 

Including J.c.A6=13h Astrum nator K exCesS Wye Force. Citing Burns Vi. County af i€ “ingaBB3
F.2d B19 9824 (qthe\-7984) Supported by Mc CaldenV Calif On Lybea. ry ASSic A 55 Fz

 

AA fi a / 7 fp hs yk . \ ‘
1 Z14y 14223 (Q Cicl4 40) a (Qu oTing bate Joshua Ey Dverderrd ASSOS 1D 4470) “ Contso| Over AACE»

Yiogeii us f -k 5 a Wo a» ‘ 1) ~
Roll Celi “7? IPOs» AR ietorkss - Aaa eae SVEN Cvenaarml roy Ce |

Ww YtaCat fA > ELLA
— NI
= ai An . - 2
/ {V7 , i eh . ec} —}¢ > f m Pog \ 1
ta {ik Bl Q an i thi ih al Stwtdr-w & Quotinn Off cor Janelle Mun Wgec tO OWN \
\ ' 7

rorde arte, wall op wow WW Sorey woe POW donot lt

 

Oy Prenw |) EReN Hen TOOK meth “TAL. Qyow ad i Lr Re eA oral
i — — : -

 

OF Sto Bou shéral Lows Ci¥ing, Johnson Vs Daffy 588 F.2d T4O 74
CoMPLAIWT -pg.

Revised 3/24/16
Case 1:20-cv-00539-DCN Document 3 Filed 11/24/20 Page 3 of 3

 

 

 

 

 

(qe. 1978) | a MecrtV. Gy of Les Argel: 815 F.2d a 70. (40187);
Kertuarey Geo harn »473 U.S. 1595165 (1485) | asic Ae the colts
C. "OY 5 j Cape His Fea beck a, rr \us i GP Cry a, ( ne C5 LOWY at “) cere on 1 ()

Or On Af ww ants AK
" if f 1 Line uct Ng

! 1. Lh wy
tnical \Ac Otiqonkor mental bent UM vi dlationss

Respectfully submitted this zg" day of Septembe~ 2020

ZO f

QlaintifDefendant (circle one)

 

CERTIFICATE OF MAILING

I HEREBY CERTIFY that onthe 1 day of October 2020 51

mailed a true and correct copy of the Come) A \ IVT via

prison mail system for processing to the U.S. mail system to:

 

 

“Wo W/W, State Giree suiTBt 740
0.0. Box 2372.0 -D0\0
R0ise.5.5p £3702 -7137%

WA
Claintifi/Defendant (circle one) “

CoMPLAWT -pg.

Revised 3/24/16
